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                          UNITED STATES DISTRICT COURT

                           MIDDLE DISTRICT OF LOUISIANA


 VOICE OF THE EXPERIENCED, A                                                       CIVIL ACTION
 MEMBERSHIP ORGANIZATION ON
 BEHALF OF ITSELF AND ITS
 MEMBERS, ET AL.

 VERSUS

 JAMES LEBLANC, ET AL.                                                NO. 23-01304-BAJ-EWD

                                              ORDER

       Considering the matters discussed at the February 19, 2025, Motion Hearing

on Plaintiffs Motion For Class Certification (Doc. 120, the “Motion”),

       IT IS ORDERED that a secondary in-court Motion Hearing be and is hereby

SET for March 27, and March 28, 2025, to begin at 9:00 A.M. in Courtroom 2.

Persons representing the full spectrum of the proposed classes may be

examined by the Parties.

       IT IS FURTHER ORDERED that the Jury Trial and Pretrial Conference for

the above-captioned matter be and are hereby CONTINUED WITHOUT DATE. 1

                                  Baton Rouge, Louisiana, this 27th day of February, 2025



                                               _______________________________________
                                               JUDGE BRIAN A. JACKSON
                                               UNITED STATES DISTRICT COURT
                                               MIDDLE DISTRICT OF LOUISIANA



1 Trial for the above-captioned matter shall be reset following the conclusion of a matter (unrelated

to the Motion) currently before the U.S. Court of Appeals for the Fifth Circuit.
